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                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


AARON LIONEL MAX HEATON
AND
ALONDRA HEATON,

            Plaintiffs,

vs.                                                            Cause No. _____________________

JOSE ARMANDO GONZALES,
JUAN MASCORRO,
AND
J&E LIVESTOCK TRANSPORTATION, LLC,

            Defendants.


                                NOTICE OF REMOVAL TO THE
                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

            COME NOW Defendants, Jose Armando Gonzales, Juan Mascorro, and J&E Livestock

Transportation, LLC (“Defendants”), by and through their attorneys, Jones, Skelton & Hochuli,

P.L.C. (Raúl P. Sedillo and Fernando C. Palomares), and as grounds for removal to this Court,

states as follows:

            1.      On or about March 4, 2021, Plaintiffs’ Original Complaint to Recover Damages for

Personal Injuries was filed in the First Judicial District Court, County of Santa Fe, and State of

New Mexico. The case was docketed as Aaron Lionel Max Heaton and Alondra Heaton, Plaintiffs

v. Jose Armando Gonzales, Juan Mascorro, and J&E Livestock Transport, LLC, Defendants,

Cause No. D-101-CV-2021-00459.




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            2.    The Plaintiffs, Aaron Lionel Max Heaton and Alondra Heaton, are individuals who

reside in the State of New Mexico and, therefore are citizens of the State of New Mexico. See

Exhibit A.

            3.    Defendant, Jose Armando Gonzales, is a resident and citizen of the state of Texas.

            4.    Defendant, Juan Mascorro, is a resident and citizen of the state of Texas.

            5.    Defendant, J&E Livestock Transport, LLC is a foreign corporation, incorporated in

the state of Texas, with its principal place of business at 1614 Houston Street, Plainview, Texas,

79702 and is a citizen of the state of Texas. See Exhibit A, ¶ 1.5.

            6.    On March 11, 2021 Plaintiffs delivered a copy of the Summons and Complaint via

FedEx to Defendant, Jose Armando Gonzales. See Exhibit B.

            7.    On March 11, 2021 Plaintiffs delivered a copy of the Summons and Complaint via

FedEx to Defendant, Juan Mascorro. See Exhibit C.

            8.    On April 19, 2021, Defendant J&E Livestock Transport, LLC, through counsel,

accepted service of the Summons and Complaint. See Exhibit D.

            9.    On May 3, 2021, a Notice of Withdrawal and Substitution of Counsel was filed in

the First Judicial District Court, County of Santa Fe, and State of New Mexico, wherein Jones,

Skelton & Hochuli, P.L.C. (Raúl P. Sedillo), entered its appearance for Defendants, Jose Armando

Gonzales, Juan Mascorro, and J&E Livestock, Transportation, LLC. See Exhibit E.

            10.   Complete diversity of citizenship exists between Plaintiffs and Defendants.

            11.   The Complaint contains unverified allegations for damages in an unspecified

monetary amount. The Complaint alleges Plaintiffs “were seriously injured” as a result of a motor

vehicle accident that took place on or about February 6, 2020, on U.S. 285 in Eddy County, New

Mexico. See Exhibit A, ¶¶ 3.1-3.5.



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            12.   Prior to the filing of this Notice of Removal Plaintiffs tendered a demand claiming

they are entitled to well in excess of $75,000.00 to recover for past and future medical treatment,

past loss of earning capacity, loss of enjoyment of life, and punitive damages. While Defendants

do not admit any amount of damages, given the allegations in the Complaint and the amount of

the pre-suit demand, the amount in controversy for removal has been satisfied.

            13.   The Complaint is a civil action over which this Court has jurisdiction pursuant to

28 U.S.C. § 1332, and which is removable by Defendants, under the provisions of 28 U.S.C. §

1441 in that:

                  (a)   The matter in controversy exceeds the sum or value of $75,000.00 exclusive

                        of interest and costs, and

                  (b)   The matter in controversy is between citizens of different states.

            14.   Consent to this removal is not required as all defendants have been served and

consent.

            15.   This Notice of Removal, filed May 17, 2021, is timely filed with this Court after

acceptance of service of Plaintiffs’ Complaint on April 19, 2021, in accordance with Fed. R. Civ.

P. 6(a)(1).

            16.   Defendants, immediately upon the filing of this Notice of Removal, gave written

notice of the filing to Plaintiffs as required by 28 U.S.C. § 1446 (D) and filed a copy of this Notice

of Removal with the Clerk of the First Judicial District Court, County of Santa Fe, State of New

Mexico, the Court from which this action is removed.

            17.   Pursuant D.N.M. LR-CIV 81.1(a), Defendants hereby submit copies of the records

and proceedings from the state court action. See Exhibits A, B, C, and E.

            18.   This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11(a).



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            WHEREFORE, Defendants respectfully request the above-entitled action be removed from

the First Judicial District Court, County of Santa Fe, State of New Mexico, to this United States

District Court for the District of New Mexico.



                                                       Respectfully submitted

                                                       Electronically Filed

                                                       JONES, SKELTON & HOCHULI P.L.C.


                                                       /s/ Raúl P. Sedillo
                                                       Raúl P. Sedillo
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                                                       fpalomares@jshfirm.com
                                                       Attorneys for Defendants



I HEREBY CERTIFY that on the 17th day of
May, 2021 I filed the foregoing electronically
through the CM/ECF system, which caused the
following parties or counsel to be served by
electronic means, as more fully reflected on the
Notice of Electronic Filing:

Attorney for Plaintiffs:

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Attorneys for Plaintiffs


/s/ Raúl P. Sedillo
Raúl P. Sedillo

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